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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

In re:                                              )
                                                    )
         ROBERT J. ROEDL,                           )            Case No.: 20-31140
                                                    )            Chapter 7
                                Debtor.             )

   UNITED STATES TRUSTEE’S MEMORANDUM OF LAW IN OPPOSTION TO
   RESPONDENTS’ MOTION FOR SUMMARY JUDGMENT AS TO THE UNITED
    STATES TRUSTEE’S MOTION FOR A DETERMINATION OF REASONABLE
     VALUE OF SERVICES OF DEBTOR’S ATTORNEY AND FOR SANCTIONS

         Nancy Gargula, United States Trustee for Region 10 (“UST”), respectfully files her

Memorandum of Law in Opposition to Respondents’ Motion for Summary Judgment as to the United

States Trustee’s Motion for a Determination of Reasonable Value of Services of Debtor’s Attorney

and For Sanctions.

         While the UST agrees that the material facts are not in dispute, including those additional

material facts as asserted by the UST in her Response, the UST asserts that Respondents are mistaken

as to the law that applies to this case and to these undisputed material facts.

I.     The Code Imposes a Duty on Debtor’s Attorney to Conduct a Reasonable
Investigation and Make an Inquiry.

         The UST’s Fee Examination Motion is based upon the statutory provision requiring counsel

for the debtor to perform a reasonable investigation into the circumstances that give rise to the

petition. This requirement is set forth in Sections 707(b)(4)(C) and (D) as follows:

                (C) The signature of an attorney on a petition, pleading, or written motion
                shall constitute a certification that the attorney has—
                        (i) performed a reasonable investigation into the circumstances that
                        gave rise to the petition, pleading, or written motion; and
                        (ii) determined that the petition, pleading, or written motion—
                             (I) is well grounded in fact;
                             …


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                (D) The signature of an attorney on the petition shall constitute a certification
                that the attorney has no knowledge after an inquiry that the information in the
                schedules filed with such petition is incorrect.

         Implicit in an attorney’s obligation to represent a chapter 7 debtor is that the attorney will

conduct a reasonably diligent investigation and provide the debtor with competent representation. (See

In re Moffett, 2012 WL 693362, *3-4 (Bankr. C. D. Ill. March 2, 2012).) Indeed, an attorney has an

independent duty to investigate and verify the contents of the Debtors’ schedules and SOFA. U.S.

Trustee vs. Breset, 246 B.R. 784 (Bankr. M.D. Penn. 2000). The attorney may not discharge this obligation

by simply relying upon the client’s duty to provide accurate information. Id. Rather, an attorney must

investigate and ask questions based upon information provided by the client that may lead to

additional relevant information. See In re Casavalencia, 389 B.R. 292, 296 (Bankr. S.D. Fla. 2008)

(imposing sanctions under Rule 9011 and 11 U.S.C. §§ 105(a) and 526(a)(2) on attorney because the

falsehoods contained in his client’s filed petition and schedules would have been known to attorney

“upon the exercise of reasonable care.”). An attorney must “make a reasonable inquiry as to the

circumstances giving rise to the bankruptcy petition and all facts asserted therein.” In re Finn, 2020 WL

6065755 *7 (Bankr. C.D. IL. August 28, 2020), citing In re Beinhauer, 570 B.R. 128, 136 (Bankr. E.D.N.Y.

2017).

         Respondents could not have fully investigated the Debtor’s financial affairs and still made the

error of failing to properly disclose Debtor’s interest in the zero-turn mower (the “Zero Turn”). See

In re Swisher, 17-70310, 2017 WL 5634594, footnote 1, C.D. Illinois, November 22, 2017, (Gorman,

J.) (“But the disclosures [on Schedule A/B] … were clearly wrong and seemingly conflicted with the

information provided elsewhere about how much money the Debtor had, either in cash or in her

savings account. The attorney could not have fully investigated the Debtor’s affairs as required and

still made such errors. 11 U.S.C. § 707(b)(4)(C).”). In Swisher, the court denied a debtor’s discharge

for, among other reasons, making a false oath on her schedules when she stated that she had no cash

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on hand when she did actually have cash on hand arising from a tax refund she had received prior to

filing her bankruptcy case. Swisher at *1-2. The conflicting information on Schedule A/B that should

have alerted debtor’s counsel to fully investigate was the statement that she “got a tax refund of

$9707.05 federal and $895.00 state.” Id.

        An attorney cannot satisfy his obligation under the Code by simply reviewing, even if

repetitively, the same deficient information provided by a client. If it were sufficient, the duty to

conduct a reasonable investigation would be dependent solely upon the client and not the attorney.

The statute makes clear that the attorney’s duty to investigate is independent of a debtor’s duties under

the Code. An attorney cannot discharge this duty by only acting as a scribe of the client’s information

without investigating or inquiring as to the completeness or accuracy of that information. .

II.    Rule 9011 Does Not Apply to Sanctions that May be Awarded Under 11 U.S.C.
§707(b)(4)(C) and (D).

        Congress created the U.S. Trustee Program for the express purpose of enforcing bankruptcy

law and to protect the public interest. H.R. Rep. 95–595, 95th Cong., 1st Sess. 109 (1977), U.S. Code

Cong. & Admin. News 1978, pp. 5963, 6070. The UST serves as the bankruptcy watchdog to prevent

fraud, dishonesty, and overreaching in bankruptcy cases. H.R. Rep. 95–595, 95th Cong., 1st Sess. 88

(1977), U.S. Code Cong. & Admin. News 1978, pp. 5963, 6049. By Sections 329 and 707(b)(4)(C) and

(D) (as well as §§ 526-528), Congress sought to protect vulnerable consumer debtors from potential

overreaching and perceived abuses by attorneys (See Matter of Geraci, 138 F.3d 314, 320 (7th Cir.1998)

(§ 329)) and perceived abuses of the bankruptcy system. Milavetz, Gallop & Milavetz, P.A. v. U.S., 559

U.S. 229, 232 (U.S. 2010) (§§ 526-528).) Section 329 confers standing on the Court and UST to enforce

those provisions regulating attorney conduct and fees. Thus, the §§ 329 and 707(b)(4)(C) and (D)

claims brought by the UST in her Fee Examination Motion are directly within her Congressionally-

assigned role to enforce bankruptcy laws, investigate and review attorney misconduct and

compensation, and protect the public interest.
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         Sections 707(b)(4)(C) and (D) did not exist prior to the passage of the Bankruptcy Abuse

Prevention and Consumer Protection Act of 2005 (“BAPCPA”). The authorities cited by Respondents

at Page 3 of their Brief for the proposition that the safe-harbor provisions of Rule 9011 are also

imposed upon §§ 707(b)(4)(C) and (D) do not, in fact, support their position. Respondents cite the

cases of In re Bonilla, 573 B.R. 368 (Bankr. D. Puerto Rico 2017), and In re Roman 574 B.R. 430 (Bankr.

D. Puerto Rico 2017) in support of their position that Rule 9011 applies to this case. (Respondents’

Brief at Pge. 3). Both cases are distinguishable from the case at bar for several reasons.

         First, the UST in Bonilla and in Roman sought relief, including sanctions, under Rule 9011. The

UST is not seeking sanctions under Rule 9011 in this case.

         Second, the defective documents in both Bonilla and Roman which prompted the sanctions

motion were not the schedules 1, in contrast to the deficient Schedule A/B that is at issue in this case.

Debtor’s Schedule A/B omitted an estate asset – the Zero Turn – and was deficient from the

commencement of the case. The omission of the Zero Turn was only rectified after counsel for the

UST brought the deficiency to the attention of Respondents. Even if the Court determined that Rule

9011 applies to the Fee Review Motion, the exception afforded by Rule 9011(c)(1)(A) likewise applies

as discussed by the court in In re Parikh, 508 B.R. 572, 588 (Bankr. E.D. N.Y. 2014) (failure to comply

with the safe-harbor provision of Rule 9011(c) applies to all filings except the petition and schedules). 2

Judge Gorman, in the Central District of Illinois, recently addressed this same argument by one of the

Respondents, UpRight Law:




1 The offending documents being the subject of the sanctions motion involved the disclosure of attorney compensation

and not the schedules. In addition, the attorney was attempting to collect dischargeable post-petition fees. See Bonilla at
369 and Roman at 432.
2 Respondents fail to cite to the Parikh Court’s holding that Rule 9011 sanctions were precluded with “regard to all

papers filed … in this case – other than the bankruptcy petition and schedules.” Parikh, 508 B.R. at 588 (Emphasis in
original).

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        Rule 9011 provides that, to obtain sanctions for a violation of its mandates, an
        aggrieved party must first serve a copy of any proposed motion for sanctions on the
        offending party, providing not less than 21 days to withdraw or appropriately correct
        “the challenged paper, claim, defense, contention, allegation, or denial[.]” Fed. R.
        Bankr. P. 9011(c)(1)(A). These safe-harbor provisions do not apply, however, when it
        is the filing of the petition that violates the rule. Id. Likewise, the safe-harbor
        provisions do not apply when a court initiates the inquiry as to whether conduct is
        sanctionable by issuing an order to show cause sua sponte. Fed. R. Bankr. P.
        9011(c)(1)(B). Here, the UST admittedly sent no safe-harbor notice … before filing
        the Motions for Sanctions, but the UST also does not rely on Rule 9011 in seeking
        sanctions.
        …
        [E]ven if the safe-harbor provisions generally apply to §707(b)(4) requests for
        sanctions, the provisions do not apply with respect to the filing of the petition and
        schedules because such filings have “immediate collateral effects” and such
        documents generally cannot be withdrawn without court approval. In re Parikh, 508
        B.R 572, 588 (Bankr. E.D.N.Y. 2014) (citing Levey v. Kesser Cleaners Corp., 2007 WL
        2177048, at *3 (E.D.N.Y. July 27, 2007)).

In re Finn, 2020 WL 6065755 at *8 (C.D.Ill. Aug. 28, 2020) (emphasis added).

        Third, even if the Court determines that the safe-harbor provision of Rule 9011 does apply,

this determination would not be fatal to the UST’s request for the Court to review the fees, reduce

the fees, or award sanctions, because the Court could still find that Respondents violated §§

707(b)(4)(C) or (D) and review and reduce fees or impose sanctions for that violation under § 105 of

the Bankruptcy Code or through the exercise of the Court’s inherent authority to regulate attorneys

appearing before it in order to implement a finding that Respondents violated §§707(b)(4)(C) or (D).

        Bankruptcy courts have broad authority and inherent power to impose sanctions on
        parties and attorneys for case-related wrongdoing. In re Rimsat, Ltd., 212 F.3d 1039,
        1049 (7th Cir. 2000). The authority derives from §105 of the Code that provides, in
        part, that a “court may issue any order, process, or judgment that is necessary or
        appropriate to carry out the provisions of this title.” 11 U.S.C. §105(a). Under §105,
        bankruptcy courts have “broad powers . . . to implement the provisions of Title 11
        and to prevent an abuse of the bankruptcy process.” In re Volpert, 110 F.3d 494, 500
        (7th Cir. 1997). Although a “sanctioning court should ordinarily rely on available
        authority conferred by statutes and procedural rules,” it may use its inherent powers
        when such statutes and rules are inadequate “to serve the court’s purposes.” Rimsat,
        212 F.3d at 1048-49 (citations omitted).

Finn at *7.



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III.   The Ability to Amend Schedules does not Eliminate the Requirements of §§
707(b)(4)(C) and (D).

        Next, Respondents argue that because Bankruptcy Rules 1009 and 9005 allow for

amendments, once an amendment is filed, any wrongdoing is cured and thus no enforcement action

can be commenced. (Respondents’ Brief at Pages 6-8 and Affirmative Defenses, ¶¶ 7-9.) Respondents

cite to the Seventh Circuit’s statement that “bankruptcy is a mass-production operation[.] [E]rrors and

oversights are inevitable. Singson v. Ludwig & Shlimovitz, S.C., 41 F.3d 316, 319 (7th Cir. 1994).”

(UpRight Law Motion for Summary Judgment, Page 6.) It is true that bankruptcy filings will never

be error-free, but that doesn’t absolve counsel of complying with their obligations under §§ 707(b)(4).

Respondents’ reliance on the case of In re Yonikus, 996 F.2d. 866 (7th Cir. 1993) for the proposition

that the amendment of Schedules A/B prohibits liability under a Section 707(b)(4)(C) and (D) claim

is also misplaced. Yonikus addressed only whether a debtor can amend Schedule C to claim an

exemption in a previously undisclosed worker’s compensation claim. Yonikus does not address the

issue of whether Rule 1009 can be used as a shield against an attorney’s liability for a violation of §§ 329

or 707. The UST is not contending that the Debtor should not have been permitted to amend his

Schedule A/B. Rather, the UST contends that amendment would not have been necessary if the

Respondents had appropriately discharged their obligations under the Bankruptcy Code and the

Illinois Rules of Professional Conduct.

        For obvious reasons, Respondents fail to acknowledge that other courts in the Seventh Circuit

also hold that:

        Filing amendments after the errors have been discovered does not ‘cure the initial
        failures.’ Id. “The operation of the bankruptcy system depends on honest reporting.
        If debtors could omit assets at will, with the only penalty that they had to file an
        amended claim once caught, cheating would be altogether too attractive.” Payne v.
        Wood, 775 F.2d 202, 205 (7th Cir. 1985).

Finn, at *11.
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       “Rule 61 when read in conjunction with the Federal Rule of Bankruptcy Procedure 9005

permits the Bankruptcy court to correct any error or defect or to cure any omission which does not

affect substantial rights.” See In re Arens, 139 B.R. 667, 669 (Bankr. N.D. Ohio 1991) (citing In re

Carapella, 115 B.R. 365 (M.D.Fla.1990). Thus, Rule 61 provides no defense for Respondents’ failures

under §§ 329 and 707. Rather, “[t]he [R]ule[s] [are] clear that “harmless error” by the court will not

warrant a reversal of its judgment.” Arens, 139 B.R. at 669 (emphasis supplied).             However,

Respondents’ violations of §§ 329 or 707 are not “harmless errors” by the Court that these Rules excuse.

The Rules permit the Court to correct its own errors, not excuse those of counsel.

       Similarly, while Rule 1009 authorizes debtors to amend documents filed in bankruptcy cases,

it does not excuse attorney errors or decisions to not conduct a reasonable investigation into the facts

and circumstances of a bankruptcy petition. “Filing amendments after the errors have been discovered

does not ‘cure the initial failures.’” Finn, at *11 (discussing the numerous errors committed by an

UpRight Law partner attorney).         In fact, Bankruptcy Rule 1008, not Rule 1009, applies to

Respondents’ errors and deficient representation. See In re Dobbs, 535 B.R. 675, 685 (Bankr. N.D.

Miss. 2015) (citations omitted) (“attorney who files schedules and statements on a debtor’s behalf

makes a certification regarding the representations contained therein….The attorney’s certification is

not an “absolute guaranty of accuracy,” but is …an endorsement “based upon the attorney’s best

knowledge, information and belief, ‘formed after an inquiry reasonable under the circumstances.’”).

       Respondents were not aware of the omission of an estate asset despite the information being

readily available on a publicly available website, free of charge, for months until the omission was

brought to their attention by counsel for the UST. Attorney Buch admitted that it is common to have

a transfer of assets between spouses during a dissolution of marriage proceeding but that despite this,

he did not review the Debtor’s dissolution proceedings. The failure to self-amend the schedules when

estate assets are omitted is not “harmless error.” Again, Respondents fail to recognize that the error
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was not only Debtor’s, but also counsel’s error.        Counsel was required to conduct a reasonable

investigation, at no expense to counsel through the publicly available free on-line services, that would

have revealed Debtor’s interest in the Zero Turn. Had counsel done so, as required, he could have

averted Debtor from appearing for a Rule 2004 examination concerning the omitted estate asset and

insulated Debtor from the possible denial of his discharge. The error in this case that gives rise to the

UST’s Fee Review Motion is not the Debtor’s failure to list the Zero Turn but rather Respondents’

admitted failure to conduct any investigation whatsoever into the information provided to them in the

preparation of the Debtor’s Schedule A/B when that information suggested that such an investigation

was appropriate.

        Respondents’ assertion in their Brief that “there is no basis in the record for a reasonable

factfinder to conclude that Respondents failed to conduct a reasonable investigation into the

circumstances giving rise to Mr. Roedl’s bankruptcy” is without merit. Respondents admit the

following: (i) Attorney Buch was aware at the time of the initial in-person consultation on November

13, 2019 (the “Initial Consult”) that Debtor was recently divorced; (ii) Attorney Buch was aware at the

Initial Consult that the Divorce Case was approximately one year prior thereto; and, (iii) Attorney

Buch was aware at the Initial Consult that Debtor resided in a residence located on 4.5 acres. The

Bankruptcy Code and Rules imposed upon counsel the duty to investigate Debtor’s circumstances

prior to filing Debtor’s petition and schedules, including here, to (1) investigate Debtor’s recent

divorce proceedings, which may be done through a review of the free Judici website, and, (2)

investigate how the Debtor maintains a 4.5 acre lawn. Respondents chose to do neither.

IV. Bad Faith is Not Required for Sanctions Under § 105

        Respondents’ argument that the Court does not have authority under Section 105 to impose

sanctions is contrary to the law. Respondents continue to ignore the well-settled law that “a

bankruptcy court has statutory authority under section 105(a) as well as its inherent powers to impose

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sanctions for misconduct.” In re Tabor, 583 B.R. 155, 159 (Bkr.N.D.Ill. 2018) citing In re Rimstat, Ltd.,

212 F.3d 1039, 1049 (7th Cir. 2000); In re Volpert, 110 F.3d 494, 500 (7th Cir. 1997); In re Husain, 533

B.R. 658, 662 (Bankr. N.D. Ill. 2015) (Cox, J.), aff’d, 866 F.3d 832 (7th Cir. 2017). “Bankruptcy Courts,

like the other federal courts, have the authority to oversee and correct for attorney conduct. Chambers

v. NASCO, Inc., 501 U.S. 32, 43–46, 111 S.Ct. 2123, 115 L.Ed.2d 27 (1991); Manez v. Bridgestone Firestone

N. Am. Tire, LLC, 533 F.3d 578, 585 (7th Cir. 2008) (The Supreme Court in Chambers has ‘‘reaffirmed

the inherent power of the federal courts to address ‘a full range of litigation abuses.’ ’’).” Id. at 175.

“Under § 105, bankruptcy courts have ‘broad powers … to implement the provisions of Title 11 and

to prevent an abuse of the bankruptcy process.” In re Finn, 2020 WL 6065755 at *7 citing In re Volpert

at 500. “The power conferred by § 105 is one to implement rather than to override.” Id. To the extent

that specific statutory provisions are inadequate to address the relevant conduct, the bankruptcy court

“may use its inherent powers when such statutes and rules are inadequate ‘to serve the court’s

purposes.’” Finn at *7, citing Rimsat, 212 F.3d at 1048-1049.

        In this case, Sections 707(b)(4)(C) and (D) impose specific obligations on debtor counsel,

including Respondents, to affirmatively perform “a reasonable investigation” and make “inquiry,”

respectively. Respondents failed to perform either affirmative act in preparing and filing Debtor’s

bankruptcy petition. Respondents’ failure was discovered by the UST, and the undisclosed estate asset

was brought to the Court’s attention. Only then did Respondents even discuss the undisclosed estate

asset with the Debtor and file amended schedules. “Filing amendments after the errors have been

discovered does not ‘cure the initial failures.’ Id. ‘The operation of the bankruptcy system depends on

honest reporting. If debtors could omit assets at will, with the only penalty that they had to file an

amended claim once caught, cheating would be altogether too attractive.’ Payne v. Wood, 775 F.2d 202,

205 (7th Cir. 1985).” Finn at *11. Section 105 permits the Court to fashion an appropriate remedy




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for debtor’s counsel failure to perform their specific statutory affirmative obligation to review a

debtor’s recent divorce records.

        Respondents do not cite to any controlling case authority that the Bankruptcy Court may

impose sanctions under § 105 only after a finding of “bad faith.” An appellate court “will not reverse

an order imposing sanctions merely because the sanctioning court did not make explicit findings of

‘bad faith’.” In re Tabor, 583 B.R. at 181 citing Rimsat, 212 F.3d at 1047. In Rimsat the Seventh Circuit

addressed the issue of awarding sanctions against an attorney for alleged abuse of process. Rimsat,

212 F.3d at 1047, n.5. Citing Rimsat, the Tabor Court found that “nothing in the language of section

105 conditions the court’s authority” to award sanctions under § 105 on a specific finding of bad faith.

Tabor, 583 B.R. at 180.

        Finally, the Court’s inherent power to govern the actions or inactions of the attorneys

appearing before it permits the Court to impose sanctions to effectuate the Bankruptcy Code

provisions at issue in this case. Subject to exceptions not relevant here, the bankruptcy court has the

power under § 105(a) to “tak[e] any action or mak[e] any determination necessary or appropriate to

enforce or implement court orders or rules, or to prevent an abuse of process.” 11 U.S.C. § 105(a).

“Bankruptcy courts have broad authority and inherent power to impose sanctions on parties and

attorneys for case-related wrongdoing.” Finn at *7 (citing Rimsat). Respondents’ arguments that the

Court does not have authority to impose sanctions or that it must first find bad faith on the part of

the Respondents is without merit and must be rejected.

V.     There is no Evidence to Support a Finding that the Fees Charged were Reasonable
Given the Services Rendered.

        The Court should reject Respondents’ argument that summary judgment should be granted

on the U.S. Trustee’s §329 claim because there is no disclosure violation and they have not exceeded

any presumptively reasonable fee.      Grounds for the cancellation of an attorney’s engagement

agreement or return of fees are not limited to disclosure errors or exceeding a presumptively
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reasonable fee. See 11. U.S.C. §329. Indeed, Respondents’ argument that because there is not currently

a presumptively reasonable fee amount set by the Court in the Southern District of Illinois, the UST

cannot challenge the fee charged to Debtor is wholly unsupported by any Bankruptcy Code provision,

Bankruptcy Rule, or case decision in this District. This frivolous claim is contradicted by the decision

in Homa v. Gargula, No. 19-cv-1139-NJR, 2019 WL 6701684 (December 9, 2019), which rejected

Upright Law’s demand that a presumptively reasonable fee must be set in this District. Moreover,

even if there were a presumptively reasonable fee in place, it is well-settled in the Seventh Circuit that

the existence of such a presumptive fee does not preclude any party from challenging the

reasonableness of the attorney’s fees. Rather, “[o]nce a question has been raised about the

reasonableness of the attorney's fee under section 329, it is the attorney himself who bears the burden

of establishing that the fee is reasonable.” Geraci, 138 F.3d at 318. Accordingly, summary judgment

must be denied because Respondents have failed to supply the Court with adequate undisputed

evidence that their representation of the Debtor supports the reasonableness of the fees charged. If

anything, summary judgment may be warranted in favor the U.S. Trustee on the §329 claim.

        It is irrefutable that the Debtor failed to disclose the existence of an estate asset. It is

irrefutable that Attorney Buch failed to review the Divorce Case records. It is irrefutable that Attorney

Buch knew Debtor’s residence consisted of 4.5 acres of land. It is irrefutable that Respondents failed

to conduct a pre-filing investigation that would have disclosed the existence of this asset, causing

Debtor to file schedules under penalties of perjury that omitted that asset.

        Respondents failed to fulfill the obligations imposed by §§ 707(b)(4)(C) and (D) as well as by

the Illinois Rules of Professional Conduct. The failure of Respondents to review the readily available

and free online resources and their failure to ask the necessary and required follow-up questions

concerning how Debtor maintained his 4.5 acre lawn permitted Debtor to omit an estate asset from

the bankruptcy schedules. This omission needlessly subjected Debtor to a Rule 2004 examination and

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the possible denial of his discharge for concealment or false oath. Respondents may not discharge

their duty to conduct an adequate investigation by simply relying upon the client’s duty to provide

accurate information. In re Seare, 493 B.R. 158, 210 (Bankr. D. Nev. 2013) (debtor’s attorney has “an

affirmative duty … to take steps to ensure that the client is providing complete and accurate

information.”) Contrary to Respondents’ arguments, “[m]erely relying on what the debtor provides

is insufficient.” Id. Respondents failed to investigate and ask questions based upon information readily

and publicly available. Accordingly, summary judgment must be denied because Respondents have

failed to supply the court with adequate undisputed evidence that they fulfilled the obligations imposed

by §§ 707(b)(4)(C) and (D) as well as by the Illinois Rules of Professional Conduct.       If anything,

summary judgment may be warranted in favor the U.S. Trustee on her §707 claim.

       WHEREFORE, the United States Trustee respectfully requests that this Court deny

Respondents’ Summary Judgment Motion, and for such other and further relief as this Court may

deem appropriate.

       Dated: July 15, 2021                            Respectfully Submitted,

                                                       NANCY J. GARGULA,
                                                       United States Trustee

                                                       /s/ Mark D. Skaggs

                                                       Mark D. Skaggs,
                                                       Trial Attorney




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                                 CERTIFICATE OF SERVICE
        The undersigned certifies that a copy of the foregoing document was served upon all parties
of record through their attorneys electronically via the Clerk of the Court’s CM/ECF filing system on
the 15th day of July, 2021.

                                         Robert J. Roedl
                                           5706 G Rd
                                        Waterloo, IL 62298

                                                              /s/ Mark D. Skaggs

                                                              Mark D. Skaggs




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